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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ORDER OF REFERENCE
TO A MAGISTRATE .TUDGE
Plajntiff, DAV|D YUREV|AN ENTERPR|SES, ET ANO.

__ _1_e-eV-1906 (LAK )(eN )

_V_

 

Defendant_ SUSAN WAXMAN, ET AL.

   

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The above entitled action is referred to the designated Magistrate Judge for the following

 

 

purpose(s):
General Pretrial (includes scheduling, Consent under 28 U.S.C. §636(0) for all
>< discovery, non-dispositive pretrial purposes (includirig trial)

 

 

motions, and settlement)
Consent under 28 U.S.C. §636(0) for limited

 

 

 

 

 

 

 

 

Speeitic Non-Dispositive purpose (e. g., dispositive motion,
Motion/Dispute:* preliminary injunction)

Purpose:

Habeas Corpus

 

 

 

 

Soeial Security

 

 

If referral is for discovery disputes When

 

 

 

 

 

 

 

 

the Distn'et Jud ge is unavailable, the time Dispositive Motion (i.e., motion requiring

period of the referral: >< a Report and Recommendation)
Particular Motion:

Settlement*

lnquest After Default/Damages Heering All such motions: X

 

 

 

 

 

*Do not check if`a rea y ref rred for general pretrial.
Dated ___m
SO 0 ERED:

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Vv
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